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United States District Court

 

AO 91 (Rev. 11/11) Criminal Compiaint Southern District Of Texas
UNITED STATES DISTRICT COURT cep 16 2020
for the

Southern District of Texas David J. Bradley, Clerk

Case No. M- a O-| QSY ~ 1"

United States of America
Vv.

Jason HERNANDEZ
Y.0.B: 1986 Citizenship: United States

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Complaint Authorized: AUSA Michael Mitchell

Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of Aug. 29, 2020-Sept. 15, 2020 in the county of Hidalgo in the

 

 

Southern District of Texas , the defendant(s) violated:

Code Section Offense Description

Title 18 USC, Section 2422(b) Coercion and enticement of a minor.

This criminal complaint is based on these facts:

See "Attachment A"

Zi Continued on the attached sheet.

/s/ Andrew Bonneau

 

 

9/16/20 ———

Complainant's signature
Sworn to and executed by reliable electronic means, Andrew Bonneau / HSI Special Agent
sworn to U.S. Magistrate Judge J. Scott Hacker and Printed name and title

attested telephonically per FED.R.CR.4.1, and probable

cause found on:
3) 97"

Vm Ss signature

City and state: McAllen, Texas . ivhy loc U.S. Magistrate Judge

L*% / Printed name and title

 
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ATTACHMENT “A”

Beginning or about August 29, 2020, to on or about September 15, 2020, Homeland Security
Investigations (HSI) Rio Grande Valley Child Exploitation Investigations Task Force (RGV CEITF) Special
Agent (SA) Andrew Bonneau participated in an undercover online enticement investigation on the
application “Whisper” and took on the persona of a 13-year-old female child. SA Bonneau created a
post in the area of Harlingen, TX that read “Hate this homeschool thing want to be with my BFs”.

Shortly after creating the post, SA Bonneau received a response from the Whisper user Chico956. The
suspected male initiated the conversation by asking “You in college or just 45+”, SA Bonneau
immediately stated “No in 8”. In the ensuing conversation the suspected male established his age as 34
and SA Bonneau established his age as 13. The suspected male stated he lived in Mercedes, Texas and
stated his name was Jason, later identified as Jason HERNANDEZ.

On September 04, 2020, HERNANDEZ sent a message via Whisper, stating he would like to meet with
the person he believed to be a 13-year-old child. HERNANDEZ even stated they would need find a place
so that no one would see them. HERNANDEZ stated he could get in trouble if he was seen with a 13-
year-old child. HERNANDEZ also stated that if anything sexual were to occur, the person he believed to
be a 13-year-old child would have to make the first move.

Throughout the conversation, SA Bonneau stated that he was a 13-year-old child multiple times, and the
suspected male acknowledged he was communicating with a 13-year-old child on multiple occasions.
On multiple occasions SA Bonneau sent messages via Whisper, asking if HERNANDEZ could get in
trouble. HERNANDEZ acknowledged he could get in trouble. HERNANDEZ continued the conversation
and even instructed the person he believed to be a 13-year-old child to move to a different form of
communication. HERNADEZ provided his phone number and gave the instruction to save his number
under a girl’s name.

On September 09, 2020, the conversation moved to text via cellphone. On September 10, 2020,
HERNANDEZ sent multiple texts stating he wanted to kiss the lips, neck and inner thighs of the person he
believed to be a 13-year-old child when they would meet. HERNANDEZ also stated if sexual activity were
to occur he would be gentle. HERNANDEZ stated he would put his penis in the vagina of the person he
believed to be a 13-year-old child slowly so it would not hurt and if it hurt, he would take it out.
HERNANDEZ also stated he would wear a condom so the child could not get pregnant.

On September 15, 2020, HERNANDEZ agreed to meet with the 13-year-old female child. HSI agents
secured a safe location for the meet to occur and SA Bonneau relayed the meet location to the
HERNANDEZ, via text. The location was a park in Harlingen, Texas that provided a controlled
environment for agents to make an arrest. SA Bonneau, posing as the 13-year-old female child, texted
HERNANDEZ to meet in the parking lot of the park. HERNANDEZ texted he would be driving his truck and
would arrive around 1730hrs.

At approximately 1720hrs, a gray Dodge Dakota arrived at the park driven by HERNANDEZ. Agents
immediately approached the truck and detained HERNANDEZ. Agents also seized a cel] phone from the
vehicle’s floorboard and condoms from the truck.

HERNANDEZ was transported to the HSI Harlingen office where a post-Miranda interview was
conducted. In the interview, HERNANDEZ admitted to enticing an individual he thought was a 13-year-
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old female to engage in sexual activity. HERNANDEZ also admitted he drove to the park to meet the 13-
year-old female for the purposes of engaging in sexual activity.

lf HERNANDEZ had sex with a 13-year-old child, he could have been charged with aggravated sexual
assault in violation of the Texas Penal Code 22.021.

 
